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                      IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
 JAY CONNOR, individually and on              Case No. 1:24-cv-02286
 behalf of all others similarly situated,


                       Plaintiff,
        v.

 SERVICEQUIK INC. d/b/a
 ZING BUSINESS MANAGEMENT
 SOFTWARE


                  Defendant.
     PLAINTIFF’S OPPOSITION TO THE DEFENDANT’S MOTION TO DISMISS

       Attempts by the robocalling industry to blame the victims of their calls are nothing

new. Trial and appellate courts have had little trouble rejecting such smear tactics. But

now, it has come to this. In its motion (ECF. No. 10) (“Motion” or “Mot.”), the Defendant

makes a bold assertion, that a plaintiff, who uses the aforementioned cellular telephone

number for personal, family and household use, but was reassigned a telephone

number erroneously associated with a Google Maps listing through no fault of his own,

has lost standing to assert the privacy protections of the TCPA. The proper resolution of

Defendant’s motion has a boring ending: denial, as similar cases have previously held.

       Defendant’s attempts at dismissing the case under Rule 12(b)(6) because the

calls were allegedly not made to a residential cell phone and because the Plaintiff

allegedly received only one text message fare no better. As an initial matter, the text

messages were sent to a residential cell phone, which is presumptively a residential,

non-business number under the TCPA, which multiple courts and the FCC have

confirmed. This fact will be ascertainable in discovery through reference to various

databases, including the Reassigned Number Database. As to the second point, the
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Plaintiff’s telephone records on this point, attached herein as Exhibit A, are dispositive,

and show the Plaintiff received two text messages. The Plaintiff has pled consistent with

these records. Defendant’s motion should therefore be denied in its entirety.

                    FACTUAL AND PROCEDURAL BACKGROUND

       It bears clarification the posture that this case comes to this Court. In sum, a

lawsuit asserting the same claims in this action, violations of the SCTPPA, were

originally filed by the Plaintiff, proceeding pro se, in state court in South Carolina, where

the Plaintiff resides. Plaintiff and Defendant conducted discovery, which revealed, as

alleged, that the Plaintiff’s number was purchased as part of a list of telephone numbers

from an online marketplace. Defendant then loaded this database of telephone numbers

into a mass-texting platform, explicitly disabled the option to scrub the texts against

numbers on the Do Not Call Registry, and then blasted the texts to the telephone

numbers on the list. After identifying the second text and a cause of action under the

TCPA, Plaintiff’s motion to dismiss his state court action, without prejudice, was granted

by the state court. The Plaintiff then retained the undersigned, who filed this instant

action as a class action against the Colorado Defendant here in Colorado.

       The matter before this Court is the Defendant’s motion to dismiss and remains

before this Court at the pleadings stage. The Plaintiff has not yet propounded any

additional discovery in this matter, as he is entitled to do, nor has the Plaintiff yet moved

for class certification under Rule 23 of the FEDERAL RULES OF CIVIL PROCEDURE, as the

Defendant improperly and inaccurately alleges. This response follows.

                                   LEGAL STANDARD

       “Under Rule 12(b)(6), a court may dismiss a complaint that fails to state a claim


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upon which relief can be granted. In order to state a claim upon which relief can be

granted, a complaint must contain, inter alia, “a short and plain statement of the claim

showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). Rather than require

detailed pleadings, the Rules demand only a “short and plain statement of the claim

showing that the pleader is entitled to relief,” in order to give defendant fair notice of

what the claim is and its grounds. Johnson v. City of Shelby, Miss., 574 U.S. 10, 11

(2014). The requirement to “show” that a pleader is entitled to relief means that a

complaint must contain factual matter, accepted as true, to “state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up).

       In determining whether a claim is plausible, the court must “draw on its judicial

experience and common sense.” Id. at 679. After identifying elements to set forth a

claim and removing conclusory allegations, the Court must accept all well-pled factual

allegations as true and determine if they give rise to relief. Id. at 678. A complaint may

be dismissed only where it appears that there are not “enough facts to state a claim that

is plausible on its face,” not merely because the defendant proffers some contrary facts.

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

                                        ARGUMENT

1. The Plaintiff’s Complaint Alleges that the His Telephone is Residential.

       Mr. Connor’s allegations are straightforward and plain, but they are not legal

conclusions. He alleges the facts – this telephone number is not used by him for

business and it is a residential telephone line. Mr. Connor alleges that his residential

telephone number is (843)-XXX-XXXX. See Amended Complaint at ¶ 19. Plaintiff

placed the number on the National Do Not Call Registry in 2022. Id. at ¶ 21. The


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number is a residential telephone line because it is assigned to a wireless, cellular

telephone exchange service for consumers and is not assigned to a telephone

exchange service for businesses. Id. at ¶ 22. The number is in Mr. Connor’s name and

he pays the bill. Id. at ¶ 23. Mr. Connor uses the number for personal, residential, and

household reasons. Id. at ¶ 24. Mr. Connor does not use the number for business

reasons and the number is not registered in the name of a business. Id. at ¶ 25.

       The Defendant is correct in asserting that purely business telephone numbers

assigned to business telephone services are not subject to the protections of the

National Do Not Call Registry, which explicitly only applies to “residential subscribers.”

However, its analysis in this regard is off, assuming without any support, and without

citing to the actual statutory text, that any telephone number which has at any point ever

been used in connection with a business, is automatically not “residential.” This

assertion is flatly contradicted by the statutory text and other court decisions.

       How does the FCC, the agency charged with implementing rules for Do Not Call

Registry,1 define “residential subscriber” as opposed to “business subscriber?” Quite

simply. As with any question of statutory interpretation, the court’s inquiry “begins with

the text.” Ross v. Blake, 578 U.S. 632, 638 (2016). And, under the TCPA, a “residential

subscriber refers to a subscriber to telephone exchange service that is not a business

subscriber” and a business subscriber is a “subscriber to telephone exchange service

for businesses.” 47 C.F.R. § 64.2305(b), (d). This language which excludes only one



1 The Federal Communication Commission (“FCC”) possesses authority to issue

implementing rules and regulations for the TCPA. See 47 U.S.C. § 227(c)(1)(A-E) and
(c)(2) and (c)(3). Pursuant to that authority, the FCC promulgated regulations relating to
the implementation, interpretation of the TCPA. See 47 C.F.R. § 64.1200(a)-(m).

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type of service–telephone exchange services for businesses–from the protections

afforded by the DNC. The fact the regulation contains only one exclusion demonstrates

that the regulation errs on the side of being overinclusive, not underinclusive.

       What’s more, the FCC has adopted enhanced protective standards for cellular

telephone numbers. To this end, the FCC has established a presumption that “wireless

subscribers who ask to be put on the national do-not-call list are residential

subscribers.” FCC Report and Order, 18 FCC Rcd. 14014, 14039 (2003) (cleaned up)

(emphasis added). This is so, even if they also use such numbers partially for business

purposes. Indeed, the Fourth Circuit in Krakauer v. Dish Network, L.L.C, 925 F.3d 643,

657 (4th Cir. 2019), concluded the TCPA’s language was clear and that numbers on the

Do Not Call Registry, by virtue of their mere registration, are presumptively residential.

Courts nationwide have agreed. See, e.g., Tsolumba v. SelectQuote Ins. Servs., No.

5:22-CV-00712, 2023 WL 6146644, at *5 n.3 (N.D. Ohio Sept. 20, 2023) (“This Court

therefore joins the majority of courts throughout the country who have held that cell

phones like [plaintiff’s] are entitled to the TCPA’s protection as residential telephones.”)

       At the pleadings stage, this is sufficient. But even crediting the Defendant’s

disputed factual allegations, the Plaintiff does not hold his number out as a business

line. To the contrary, the Plaintiff has no connection to “Arbor Craft Builders.” The

number at issue is in Mr. Connor’s name, he pays the bill, and does not use the number

for business reasons or registered it in the name of a business. (Amended Complaint at

¶ 23, 25). As best the Plaintiff can gather, the Plaintiff was re-assigned a telephone

number which used to be associated with Arbor Craft Builders, a defunct business that

has since filed for protection under Title 11, Chapter 7 of the United States Code.


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    Nor does the Plaintiff control Google or have any ability to remove this erroneous

search result, which he has nevertheless unsuccessfully attempted, despite not being

required to do so. The Defendant does not plead, nor can it, that the Plaintiff himself

listed the number as one for Arbor Craft Builders, nor can they, because the record

developed at the state court level revealed the opposite: that the Plaintiff attempted

unsuccessfully to correct this erroneous result. Inaccurate information on Google is an

unfortunate fact of life, but this fact does not stand for the proposition that a residential

telephone subscriber somehow loses their privacy protections because of inaccurate

information on Google. Defendant cites no case law for that shaky proposition. The sole

case cited by the Defendant, Bank v. Indep. Energy Grp. LLC, No. 12-CV-1369, 2014

WL 4954618, at *4 (E.D.N.Y. Oct. 2, 2014), denied the motion to dismiss, holding:

       Defendants claim that the number involved in this case has been held out to the
       public by Bank to be the business number of his law firm. They argue that Bank
       lists the phone number on his professional letterhead, on the signature block in
       court documents, and on other publicly available resources on the Internet. Def.
       Br. 2-3, May 23, 2014, ECF No. 34. If Defendants are correct about the ways in
       which Bank has advertised this number, it would not qualify as residential under
       the TCPA. But the complaint does not allege the number at issue and this is a
       motion to dismiss.

    While Mr. Connor is not alleged to have done any of those things, the analysis is the

same on a motion to dismiss, which should be denied.

    In sum, this Court can easily discern that Mr. Connor has received non-consensual

calls to a residential number he placed on the DNC. Those calls were made to Mr.

Connor’s personal cell phone that he uses for personal, residential, and household

purposes. It is therefore a residential number. Mr. Connor personally, not a company,

sues the Defendant for conduct inflicted upon him. As the guidance makes clear, Mr.



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Connor’s number is presumptively residential and is therefore entitled to the Registry’s

protections. Moreover, his number is not registered to any telephone exchange service

for businesses, a requirement making a number ineligible. Because Mr. Connor has

pled the same, Defendant’s Rule 12(b)(6) challenge on this point must fail.

2. The Plaintiff Has Standing.

       Ignoring the plain language of the statute, Defendant posits a unique theory of

standing. It has no objection to the standing of individuals who cannot be put to the

trouble of suing them, but those like Mr. Connor, who have a track record of investing

time and energy to enforce federal telemarketing law for the benefit of a class and the

general public, according to Defendant, should be stripped of the TCPA’s protections

because such conduct supposedly amounts to being a “professional plaintiff.” That term

has no definition in the law, is untethered the language in the statute, and no decision

traces a plaintiff’s standing under the statute to such an undefined status entirely of the

Defendant’s own devising.

       Indeed, another court faced with a similar challenge to a plaintiff’s standing has

held that even investigative activity did not deprive him of standing:

       The Supreme Court instructs that “we presume that a statutory cause of action
       extends only to plaintiffs whose interests ‘fall within the zone of interests protected
       by the law invoked.’’’ As noted earlier, Congress has identified those interests as
       privacy rights. In this case, Plaintiffs have pled that they received calls and texts
       prohibited by the TCPA. They further assert that “Plaintiffs here didn’t want these
       calls,” “do not want these unwelcomed calls,” “were not seeking out these calls,”
       and “tried everything in their power to stop them.” Plaintiffs further contend that
       “there is simply nothing here to support the characterization that they are
       ‘operating TCPA litigation businesses’’’ and that “the numbers are used for
       residential purposes only ….” This is sufficient at the motion to dismiss stage to
       bring Plaintiffs within the zone of the privacy rights the TCPA protects.
Barrett v. Vivint, Inc., No. 219CV00568DBBCMR, 2020 WL 2558231, at *5 (D. Utah



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May 20, 2020). Here, the Plaintiff makes similar allegations, which are sufficient to

establish his standing and do not impact his potential adequacy.

       The attempted use of past litigation to prevent a litigant from pursuing a valid

claim in federal court warrants careful scrutiny. Outley v. New York, 837 F.2d 587, 591-

92 (2d Cir. 1988). “[N]othing in the Constitution, though, requires a plaintiff to be a naïf.

Litigation is not college athletics: there is no ‘amateurs only’ rule.” Cunningham v.

Rapid Response Monitoring Servs., 251 F. Supp. 3d 1187, 1195 (M.D. Tenn. 2017);

Murray v. GMAC Mortg. Corp., 434 F.3d 948, 954 (7th Cir. 2006) (“What the district

judge did not explain, though, is why ‘professional [plaintiff]’ is a dirty word. It implies

experience, if not expertise. The district judge did not cite a single decision supporting

the proposition that someone whose rights have been violated by 50 different persons

may sue only a subset of the offenders.”); Abramson v. Oasis Power LLC, No. 2:18-cv-

00479, 2018 U.S. Dist. LEXIS 129090, at *16 (W.D. Pa. July 31, 2018) (“As other courts

addressing this issue have agreed, a citizen’s decision to aggressively enforce his rights

under the TCPA should not negate otherwise valid privacy interests”).

       Merely because Mr. Connor identified the company calling him illegally deprives

him of standing no less “than the purchase of a burglar alarm would indicate that the

homeowner wanted her house to be broken into.” Mey v. Venture Data, LLC, 245 F.

Supp. 3d 771, 783 (N.D.W. Va. 2017) (denying MSJ in TCPA case related to a similar

standing argument). While the Defendant is “understandably frustrated” by the fact they

are being sued, he is doing “exactly what Congress intended—enforcing the law.” Id.

Congress was well aware of this possibility when it passed the TCPA, and no general

rule requires plaintiffs who prove their cases to end up worse off than before the


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defendant injured them. Thus, courts reject such irrelevant and dangerous attacks on

plaintiffs who bring multiple actions and engage in investigative tactics to stop robocalls:

       The determinative issue, then, is not Cunningham’s motivations, but whether he
       was injured. An ordinary consumer who pled the facts that Cunningham has pled
       would have established a concrete and particularized injury-in-fact based on the
       Defendants’ intrusion upon his rights to privacy and seclusion. Defendants suggest
       that, by becoming a so-called “professional plaintiff,” he has forfeited those rights
       because the calls alleged were not truly unwanted. Insofar as Stoops endorses
       such a result, this Court disagrees. It may be that Cunningham was not saddened
       or annoyed by the calls he received; it may even be that, knowing his rights under
       the TCPA, he is glad the calls were placed. But allowing that fact, even if true, to
       negate his right to privacy and seclusion would require the Court to embrace a line
       of reasoning that would ultimately undermine the rights of most, if not all, TCPA
       plaintiffs and plaintiffs in similar statutory schemes.

Cunningham, 251 F. Supp. 3d at 1196 (cleaned up). Like the defendants in

Cunningham, Defendant “seem[s] to imagine a Constitution that limits the right to sue

under the TCPA to those who are ignorant of their right to sue under the TCPA.” Id.

“The Constitution requires no such result.” Id.

       The only case law Defendant relies upon for its argument Plaintiff lacks

constitutional standing is inapposite. In Stoops v. Wells Fargo Bank, N.A., 197 F. Supp.

3d 782 (W.D. Pa. 2016), on a motion for summary judgment, a TCPA plaintiff was found

to lack standing where she testified her sole purpose for owning over 35 cell phones

that she carried around in a shoebox was to run what she referred to as a “TCPA

litigation business.” There is no indication here that Mr. Connor owns 35 cell phones,

carries them around, or does not actually use his cell phone for personal, family, and

household use as alleged in the Amended Complaint. Defendant has also advanced no

proof that Mr. Connor uses his cell phone to run a TCPA litigation “business.”

       Relatedly, Defendant then cites Leyse v. Bank of Am. Nat’l. Ass’n, 804 F.3d 316,

323 (3d Cir. 2015), for the unremarkable proposition that “[s]omeone with a generalized

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interest in punishing telemarketers … would not qualify on that basis alone” for

constitutional standing. (emphasis added). But Mr. Connor is not attempting to qualify

for statutory standing solely because he has an interest in curbing unlawful

telemarketing. He received unlawful text messages to his telephone, which used his

bandwidth, battery, and storage space, and invaded his privacy. As a result, Mr. Connor

has suffered a particularized injury because he received the messages at issue, all

through no fault of his own. He therefore unquestionably has standing.

3. The Plaintiff received two text messages.

    The Plaintiff’s Amended Complaint lists the two text messages he received in

violation of the statute. The first message read, “Hi, this is Sally from Zing website

design. We’re offering a fully built website for only $19/ month for businesses like Arbor

Craft Builders- no contrac” (Amended Complaint at ¶ 29). The second message read, “t!

Can I send you a sample of our work? Reply “not interested” to opt out”. (Amended

Complaint at ¶ 30).

    Thus, the Plaintiff has plainly alleged that he received more than one telephone call

(or text message) in violation of the statute within a twelve-month period by or on behalf

of the same entity, exactly as the statute requires. 47 U.S.C. § 227(c)(5). And that the

Plaintiff’s cell phone combined the two messages, a technical term known as

“concatenation,” for the ease of reading, does not change the fact that the Plaintiff

received two text messages, not one. This fact is confirmed by the Plaintiff’s telephone

logs from his cell phone company, AT&T, which confirm that he was billed for two calls,

not one:




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       Defendant’s contrary argument that the Court should somehow interpret “more

than one telephone call” to require some undefined degree of temporal separation

between calls adds language to the statute that does not exist and would in fact run

contrary to multiple other portions of the TCPA. See Albrecht v. Oasis Power, LLC, No.

18 C 1061, 2018 WL 11269232, at *1 (N.D. Ill. Oct. 11, 2018) (denying motion to

dismiss when Plaintiff received four simultaneous calls that were made for the purpose

of leaving a single ringless voicemail). In fact, the TCPA also prohibits simultaneous

calling conduct that would cause “two or more telephone lines of a multi-line business

[to be] engaged simultaneously.” 47 U.S.C. § 227(b)(1)(D). For TCPA purposes, the

“account records of a common carrier” of the party responsible for paying the bill on the

line on which the call was received is dispositive for what “subscriber” received calls. 47

C.F.R. § 64.1100(h); Hinman v. M & M Rental Ctr., Inc., 596 F. Supp. 2d 1152, 1156

(N.D. Ill. 2009) (relying on billing records of phone company to determine number of

illegal faxes sent). As demonstrated above, the common carrier records from AT&T

reflect two calls took place. The Plaintiff has therefore pled, as supported by telephone

records, that he received more than one call in a twelve month period.

4. A Decision on Class Certification Would be Premature Prior to Discovery

       The Defendant moves to deny class certification at the pleadings stage, a

procedurally improper move more appropriately considered as a motion to strike class

claims. While a court may “strike from a pleading an insufficient defense or any

redundant, immaterial, impertinent, or scandalous matter,” FED. R. CIV. P. 12(f),

“[m]otions to strike class allegations are disfavored because class defendants ‘are often

in control of the information plaintiffs need to meet that [Rule 23] burden. Thus,


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discovery is often appropriate, even necessary.” MSP Recovery Claims, Series LLC v.

Auto Club Ins. Ass’n, No. 21-11606, 2022 WL 3686424, at *2 (E.D. Mich. Aug. 25,

2022). Striking class allegations prior to discovery is seldom appropriate because

pleadings alone do not resolve them. Blue Springs Dental Care, LLC v. Owners Ins.

Co., 488 F. Supp. 3d 867, 880 (W.D. Mo. 2020). Courts in Colorado agree:

      Essentially, Defendant is moving to preemptively deny class certification before
      discovery and before a motion for class certification is filed. As Chief Judge
      Brimmer of this Court noted, while “‘Rule 23 does not preclude a defendant from
      bringing a ‘preemptive motion to deny [class] certification[,]’” courts in the Tenth
      Circuit “have held motions to strike class allegations to a high standard of proof.”
      Therefore, consistent with other courts in this Circuit, Judge Brimmer held in
      Wornicki that the Court would “only grant defendant[‘]s motion if [it is] able to show
      conclusively that plaintiff[] will be unable to establish facts that would make class
      treatment appropriate.”
Murphy v. Aaron’s, Inc., No. 19-CV-00601-CMA-KLM, 2019 WL 5394050, at *6 (D.
Colo. Oct. 22, 2019).

       As courts around the country have held in TCPA cases, discovery will determine

if this case is amenable to class certification, as most are. If Defendant’s argument was

adopted, no TCPA action could be certified if the defendant alluded to possible

defenses at the start of the litigation. This is simply not the case, nor is it surprising

given that “[c]lass certification is normal in litigation under [the TCPA], because the main

questions . . . are common to all recipients.” Ira Holtzman, C.P.A., & Assocs. v. Turza,

728 F.3d 682, 684 (7th Cir. 2013); accord Krakauer v. Dish Network, L.L.C., 925 F.3d

643, 656 (4th Cir. 2019) (“Given the remedial purpose of the TCPA, it is no surprise that

its cause of action would be conducive to class-wide disposition.”).

       Defendant’s argument that the class claims should be dismissed and class

certification denied at the pleadings stage because of a purported inability to distinguish

between business phone lines and residential ones should be disregarded. The Plaintiff


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has not yet moved for class certification and has not undertaken class discovery.

Despite this, the Defendant contends that, if this lawsuit is permitted to proceed, the

lawsuit would “mainly revolve around whether the instant communication violates the

TCPA despite the number being listed online for a business.” If the Defendant feels that

that is the case after class discovery has concluded, it is free to make such arguments

at class certification. But the class claims should not be denied at the pleadings stage

merely because the Defendant conclusory speculates that the evidence that will be

uncovered in discovery will merely uncover a purported class of one.

       At least part of this argument seems to stem from mistaken assumptions about

the law. First, and most importantly, as explained above, the TCPA is a strict liability

statute that holds that cell phones which are registered on the DNC Registry are

presumptively residential. And it appears all the communications at issue were sent to

cell phones because they were text messages. A copper landline cannot receive a text

message. An expert will simply to review Defendant’s calling records to determine which

text messages were sent to cell phone numbers listed on the DNC. Indeed, a court

certified such a case in Mantha v. QuoteWizard.com, LLC, No. CV 19-12235-LTS, 2024

WL 3912459, at *17 (D. Mass. Aug. 16, 2024) (explaining work done by expert in

identifying residential numbers). In its order granting class certification, the Court

recognized the National Do Not Call Registry’s “residential number presumption”:

       [N]umbers on the NDNCR benefit from the “presumption that [their] cellular
       phone number constitutes a ‘residential telephone subscriber’” when that number
       is on the NDNCR. Here, Mantha has shown, using Verkhovskaya's testimony,
       that every number in the proposed Class List is on the NRDC. QuoteWizard
       identifies no proffered or forthcoming evidence indicating otherwise (i.e., that any
       number on the proposed Class List is not also on the NDNCR). To the extent
       QuoteWizard points to the work of its expert, it does so only for the proposition


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       that some of the numbers on the proposed Class List are allegedly “business,” as
       opposed to “residential,” numbers—not that they failed to appear on the NDNCR.
       Even if a handful of numbers—QuoteWizard does not indicate how many—are
       not, in fact, residential, that does not warrant denial of class certification.

Id. (cleaned up) (emphasis added) The residential number presumption has been

recognized by Courts nationwide. See, e.g., Sasin v. Enter. Fin. Grp., Inc., No. CV 17-

4022-CBM-RAO, 2017 WL 10574367, at *5 (C.D. Cal. Nov. 21, 2017) (denying MTD for

personal cell on DNC); Hodgin v. Parker Waichman Llp, No. 3:14-CV-733-DJH, 2015

WL 13022289, at *3 (W.D. Ky. Sept. 30, 2015) (same); Phillips v. Mozes, Inc., No. 2:12-

CV-04033-JEO, 2014 WL 12589671, at *6 (N.D. Ala. Sept. 3, 2014) (holding that

allegation that cell phone was registered on DNC created reasonable inference of

residential use); Doyle v. JTT Funding, Inc., No. LACV1806145JAKASX, 2019 WL

13037025, at *8 (C.D. Cal. Dec. 2, 2019) (judgment for plaintiff).

       But even if this Court were to hold that the presumption of residential use was

overcome by the Defendant in this case at class certification, Plaintiff could still use

other databases to separate business numbers from residential ones and update class

records accordingly. Chapman v. First Index, Inc., 796 F.3d 783, 785 (7th Cir. 2015)

(holding that crafting and defining class definition falls on the shoulders of the trial

judge). Two such databases include publicly available databases of defunct businesses

and the FCC’s official reassigned number database. If this Court finds that the

Defendant has proven that numbers on the DNC are not presumptively residential

(again, not now, but at the class certification stage), the Plaintiff can still plead a class

based on the two databases of which his number will be a part, as defined above.

       There exist publicly available databases of defunct businesses or businesses



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whose telephone numbers have changed, including defunct business registrations with

each state’s respective Secretary of State. If those databases indicate that the number

is associated with a closed or moved business, it would be fair for this Court to conclude

that those numbers are not business numbers and thereby ascertain class membership.

Relatedly, if the number previously associated with a business was reassigned to

another subscriber, just as Mr. Connor’s number was, it would appear on the FCC’s

Reassigned Number Database, which such database reflects that the Plaintiff’s number

was reassigned on January 6, 2022. Critically, Courts have certified classes both based

on the use of skip-tracing databases and the reassigned number database. Buonomo v.

Optimum Outcomes, Inc., 301 F.R.D. 292, 295 (N.D. Ill. 2014) (altering class definition

to include people whose numbers were obtained using inaccurate skip tracing); Samson

v. United Healthcare Servs. Inc., No. 2:19-CV-00175, 2023 WL 6793973, at *5 (W.D.

Wash. Oct. 13, 2023) (certifying reassigned number class); Hylton v. Titlemax of

Virginia, Inc., No. 4:21-CV-163, 2022 WL 16753869, at *4 (S.D. Ga. Nov. 7, 2022)

(denying defense motion for summary judgment on reassigned number issue).

       In any event, the Defendant’s motion puts the proverbial cart before the horse.

Discovery is not yet open, and the Plaintiff is not yet required to seek class certification.

The Plaintiff will move for class certification at the appropriate point and plead facts

tending to show that the class he seeks to certify is ascertainable, either because the

numbers are presumptively residential, or because the numbers are otherwise

ascertainable through databases. Because the Defendant has not cited to any case, let

alone made a showing, that denial of class certification is appropriate or even warranted

at the pleadings stage, this motion to deny class certification should also be denied.


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     RESPECTFULLY SUBMITTED AND DATED this October 7, 2024.

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